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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

   UNITED STATES OF AMERICA,
     Plaintiff,

        v.                                               Civil Action No. ELH-18-515

   LAMOND JENKINS,
     Defendant

                                        MEMORANDUM


        On May 27, 2020, defendant Lamond Jenkins, proceeding pro se, filed a motion for

compassionate release, pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), asserting “extraordinary and

compelling reasons” in light of the COVID-19 pandemic.             ECF 30 (the “Motion”). The

government filed a response in opposition to the Motion (ECF 36), along with an exhibit. ECF

36-1.

        No hearing is necessary to resolve the Motion. For the reasons that follow, I shall deny the

Motion.

                                           I.      Background

        On October 10, 2018, a grand jury sitting in the District of Maryland returned an indictment

charging Jenkins with possession of marijuana with intent to distribute, in violation of 21 U.S.C.

§ 841(a)(1) (Count One); possession of a firearm and ammunition by a prohibited person, in

violation of 18 U.S.C. § 922(g)(1) (Count Two); and possession of a firearm in furtherance of a

drug trafficking crime, in violation of 18 U.S.C. § 924(c)(1)(A) (Count Three).

        Jenkins entered a plea of guilty to Count Two on February 25, 2019. ECF 20. The plea

was tendered pursuant to a Plea Agreement. ECF 21. Pursuant to Fed. R. Crim. P. 11(c)(1)(C),

the parties agreed to a term of imprisonment of 60 months. Id. ¶ 9.
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       The Plea Agreement included a factual stipulation. Id. at 10. According to the stipulation,

officers with the Baltimore City Police Department (“BPD”) stopped a vehicle driven by Jenkins.

Id. BPD officers “smelled the strong odor of burned marijuana and removed the Defendant and

front seat passenger to conduct a search.” Id. They recovered 33.82 grams of marijuana, packaged

for distribution; $373.00 in U.S. currency; and “a fully loaded Heckler & Koch SP Company

pistol . . . containing ten (10) .40 caliber Smith & Wesson cartridges. The firearm was hidden in

the vehicle’s steering column.” Id.

       Jenkins admitted that he owned the firearm and had placed it in the vehicle’s steering

column. Id. He also admitted “that he sells marijuana in the Hamilton area of Baltimore,

Maryland.” Id. Prior to possessing the firearm, Jenkins “had been convicted of a crime punishable

by more than one-year imprisonment, and his civil rights had not been restored.” Id. And, the

weapon and cartridges were manufactured outside of Maryland. Id.

       Sentencing was held on May 10, 2019. ECF 25. According to the Presentence Report

(“PSR,” ECF 24), the defendant was 25 years of age, with a date of birth in July 1993. Id. at 2.

The Amended PSR (ECF 27) reflected a final offense level of 25 (id. ¶ 26) and a Criminal History

Category of III. Id. ¶ 37. The advisory sentencing guidelines called for a period of incarceration

ranging from 70 to 87 months. Id. ¶ 70. Pursuant to the C plea, however, Jenkins was sentenced

to a term of 60 months, with credit from June 1, 2018. ECF 28. He was also sentenced to three

years of supervised release. Id.

       Jenkins is incarcerated at FCI Schuylkill. ECF 30 at 1. He requested compassionate release

from the warden, asserting that he was “bound to catch” COVID-19. ECF 36-1 at 3. His request

was denied on June 8, 2020, because his “medical history does not meet the criteria. . . regarding

a Compassionate Release/RIS for inmates with medical conditions” and he is “currently able to



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independently adapt to activities of daily living and [is] able to perform self-maintenance activities

in a correctional environment.” Id. at 2.     The warden also noted that Jenkins is ineligible for

compassionate release because his recidivism risk is “high” and he had not provided his “intended

release residence.” Id. at 3.

                                             II.       Discussion

                                      A. Statutory Background

        Ordinarily, a court “may not modify a term of imprisonment once it has been imposed.”

18 U.S.C. § 3582(c); see United States v. Chambers, 956 F.3d 667, 671 (4th Cir. 2020); United

States v. Jackson, 952 F.3d 492, 495 (4th Cir. 2020); United States v. Martin, 916 F.3d 389, 395

(4th Cir. 2019). But, “the rule of finality is subject to a few narrow exceptions.” Freeman v.

United States, 564 U.S. 522, 526 (2011). One such exception is when the modification is

“expressly permitted by statute.” 18 U.S.C. § 3582(c)(1)(B); see Jackson, 952 F.3d at 495.

        Commonly termed the “compassionate release” provision, 18 U.S.C. § 3582(c)(1)(A)(i)

provides a statutory vehicle to modify a defendant’s sentence. Section 3582 was adopted as part

of the Sentencing Reform Act of 1984. It originally permitted a court to alter a sentence only upon

a motion by the Director of the Bureau of Prisons (“BOP”). See Pub. L. No. 98-473, § 224(a), 98

Stat. 2030 (1984). Thus, a defendant seeking compassionate release had to rely on the BOP

Director for relief. See, e.g., Orlansky v. FCI Miami Warden, 754 F. App’x 862, 866-67 (11th Cir.

2018); Jarvis v. Stansberry, No. 2:08CV230, 2008 WL 5337908, at *1 (E.D. Va. Dec. 18, 2008)

(denying motion for compassionate release because § 3582 “vests absolute discretion” in the

BOP).

        However, for many years the safety valve of § 3582 languished. The BOP rarely filed

motions on an inmate’s behalf. As a result, compassionate release was exceedingly rare. See



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Hearing on Compassionate Release and the Conditions of Supervision Before the U.S. Sentencing

Comm’n 66 (2016) (statement of Michael E. Horowitz, Inspector General, Dep’t of Justice)

(observing that, on average, only 24 inmates were granted compassionate release per year between

1984 and 2013).

       In December 2018, Congress significantly amended the compassionate release mechanism

when it enacted the First Step Act of 2018 (“FSA”). See Pub. L. 115-391, 132 Stat. 5239 (2018).

As amended by the FSA, 18 U.S.C. § 3582(c)(1)(A) permits a court to reduce a defendant’s term

of imprisonment “upon motion of the Director of [BOP], or upon motion of the defendant after the

defendant has fully exhausted all administrative rights to appeal a failure of the [BOP] to bring a

motion on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by the

warden of the defendant’s facility,” whichever occurs first. So, once a defendant has exhausted

his administrative remedies, he may petition a court directly for compassionate release.

       Section 3582(c) is titled “Modification of an imposed term of imprisonment.” Under

§ 3582(c)(1)(A), the court, upon motion of the Director of BOP or the defendant, upon exhaustion

of administrative rights, may modify the defendant’s sentence if, “after considering the factors set

forth in section 3553(a) to the extent that they are applicable,” it finds that

       (i) extraordinary and compelling reasons warrant such a reduction;

       (ii) the defendant is at least 70 years of age, has served at least 30 years in prison,
       pursuant to a sentence imposed under section 3559(c), for the offense or offenses
       for which the defendant is currently imprisoned, and a determination has been made
       by the Director of the Bureau of Prisons that the defendant is not a danger to the
       safety of any other person or the community, as provided under section 3142(g);

       and that such a reduction is consistent with applicable policy statements issued by
       the Sentencing Commission . . . .

       Accordingly, in order to be entitled to relief under 18 U.S.C. § 3582(c)(1)(A)(i), a

defendant must demonstrate that (1) “extraordinary and compelling reasons” warrant a reduction

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of the sentence; (2) the factors set forth in 18 U.S.C. § 3553(a) countenance a reduction; and (3)

the sentence modification is “consistent” with the policy statement issued by the Sentencing

Commission in U.S.S.G. § 1B1.13.

       U.S.S.G. § 1B1.13 is titled “Reduction in Term of Imprisonment under 18 U.S.C. §

3582(c)(1)(A) Policy Statement.” The text mirrors the statute. Application Note 1 of U.S.S.G. §

1B1.13 defines “Extraordinary and Compelling Reasons” in part as follows (emphasis added):

           1. Extraordinary and Compelling Reasons.—Provided the defendant meets
           the requirements of subdivision (2), extraordinary and compelling reasons exist
           under any of the circumstances set forth below:[1]

           (A) Medical Condition of the Defendant.—

               (i) The defendant is suffering from a terminal illness (i.e., a serious and
               advanced illness with an end of life trajectory). A specific prognosis of life
               expectancy (i.e., a probability of death within a specific time period) is not
               required. Examples include metastatic solid-tumor cancer, amyotrophic
               lateral sclerosis (ALS), end-stage organ disease, and advanced dementia.

               (ii) The defendant is—

                        (I) suffering from a serious physical or medical condition,

                  (II) suffering from a serious functional or cognitive impairment, or

                  (III) experiencing deteriorating physical or mental health because of
                  the aging process,

             that substantially diminishes the ability of the defendant to provide self-
             care within the environment of a correctional facility and from which he
             or she is not expected to recover.




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         Subsection (2) of U . S . S . G . § 1B1.13 establishes as a relevant factor that “the
 defendant is not a danger to the safety of any other person or to the community, as provided in 18
 U.S.C. § 3142(g).” U.S.S.G. § 1B1.13(2).


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       Other extraordinary and compelling reasons include the age of the defendant (Application

Note 1(B)) and Family Circumstances (Application Note 1(C)). Application Note 1(D) permits

the court to reduce a sentence where, “[a]s determined by the Director of the Bureau of Prisons,

there exists in the defendant’s case an extraordinary and compelling reason other than, or in

combination with, the reasons described in subdivisions (A) through (C).” U.S.S.G. § 1B1.13

App. Note 1(D).

       The BOP regulation appears at Program Statement 5050.50, Compassionate

Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C. §§ 2582 and 4205.

The Guideline policy statement in U.S.S.G. § 1B1.13, along with the application notes, and

BOP Program Statement 5050.50 define “extraordinary and compelling reasons” for

compassionate release based on circumstances involving illness, declining health, age,

exceptional family circumstances, as well as “other reasons.”

       The defendant, as the movant, bears the burden of establishing that he is entitled to a

sentence reduction under 18 U.S.C. § 3582. See, e.g., United States v. Hamilton, 715 F.3d 328,

337 (11th Cir. 2013); United States v. Edwards, NKM-17-00003, 2020 WL 1650406, at *3 (W.D.

Va. Apr. 2, 2020). And, compassionate release is a “rare” remedy. United States v. Chambliss,

948 F.3d 691, 693-94 (5th Cir. 2020); United States v. Mangarella, FDW-06-151, 2020 WL

1291835, at *2-3 (W.D. N.C. Mar. 16, 2020); White v. United States, 378 F. Supp. 3d 784, 787

(W.D. Mo. 2019).

                                            B. COVID-19

       It is necessary to acknowledge the circumstances that have led to defendant’s Motion. We

are currently “in the grip of a public health crisis more severe than any seen for a hundred years.”

Antietam Battlefield KOA v. Hogan, CCB-20-1130, ___ F. Supp. 3d ___, 2020 WL 2556496, at



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*1 (D. Md. May 20, 2020). That crisis is COVID-19.2 The World Health Organization declared

COVID-19 a global pandemic on March 11, 2020. See Seth v. McDonough, PX-20-1028, 2020

WL 2571168, at *1 (D. Md. May 21, 2020).

       The virus is highly contagious. See Coronavirus Disease 2019 (COVID-19), How COVID-

19 Spreads, CTRS. FOR DISEASE CONTROL & PREVENTION (Apr. 2, 2020), https://bit.ly/2XoiDDh.

Although many people who are stricken with the virus experience only mild or moderate

symptoms, the virus can cause severe medical problems as well as death, especially for those in

“high-risk categories….” Antietam Battlefield KOA, 2020 WL 2556496, at *1 (citation omitted).

And, there is currently no vaccine, cure, “or proven effective treatment” that is available. Id.

(citation omitted).

       The pandemic “has produced unparalleled and exceptional circumstances affecting every

aspect of life as we have known it.” Cameron v. Bouchard, LVP-20-10949, 2020 WL 2569868,

at *1 (E.D. Mich. May 21, 2020), stayed, ___ Fed. App’x ___ 2020 WL 3100187 (6th Cir. June

11, 2020). For a significant period of time, life as we have known it came to a halt. Although

many businesses have since reopened, they are generally subject to substantial restrictions. And,

some businesses are again facing closure, due to the upswing in COVID-19 cases.

       As of July 5, 2020, COVID-19 has infected about three million Americans and caused over

130,000 deaths in this country.      See COVID-19 Dashboard, THE JOHNS HOPKINS UNIV.,

https://bit.ly/2WD4XU9 (last accessed July 7, 2020). Moreover, according to the Centers for

Disease Control and Prevention (“CDC”), certain risk factors increase the chance of severe illness.

The risk factors include age (over 65); lung disease; chronic kidney disease; serious heart disease;


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         Severe Acute Respiratory Syndrome Coronavirus 2 (SARS-CoV-2) is the cause of
coronavirus disease 2019, commonly called COVID-19. Antietam Battlefield, 2020 WL at
2556496, at *1 n.1 (citation omitted).

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obesity; diabetes; liver disease; and a compromised immune system. See Coronavirus Disease

2019 (COVID-19), People Who Are At Risk for Severe Illness, CTRS. FOR DISEASE CONTROL &

PREVENTION (May 14, 2020), https://bit.ly/2WBcB16.

       On June 25, 2020, the CDC revised its guidance to recognize a set of persons who are at

higher risk of severe illness from COVID-19, and it created a second category for persons who

“might” be at risk for complications from COVID-19. For example, “Severe to moderate asthma”

is an underlying medical condition that was moved from the former category to the latter and is

now identified as a condition that “might” put an individual at higher risk for COVID-19

complications. See https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-

with-medical-conditions.html

       Thus far, the only way to slow the spread of the virus is to practice “social distancing.” See

Coronavirus Disease 2019 (COVID-19), How to Protect Yourself & Others, CTRS. FOR DISEASE

CONTROL & PREVENTION, https://bit.ly/3dPA8Ba (last accessed May 21, 2020). Social distancing

is particularly difficult in the penal setting, however. Seth, 2020 WL 2571168, at *2. Prisoners

have little ability to isolate themselves from the threat posed by the coronavirus. Id.; see also

Cameron, 2020 WL 2569868, at *1. They are not readily able to secure safety products on their

own to protect themselves, such as masks and hand sanitizers. Consequently, correctional facilities

are especially vulnerable to viral outbreaks and ill-suited to stem their spread. See Coreas v.

Bounds, TDC-20-0780, 2020 WL 1663133, at *2 (D. Md. Apr. 3, 2020) (“Prisons, jails, and

detention centers are especially vulnerable to outbreaks of COVID-19.”); see also Letter of

3/25/20 to Governor Hogan from approximately 15 members of Johns Hopkins faculty at the

Bloomberg School of Public Health, School of Nursing, and School of Medicine (explaining that

the “close quarters of jails and prisons, the inability to employ effective social distancing measures,



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and the many high-contact surfaces within facilities, make transmission of COVID-19 more

likely”);3 accord Brown v. Plata, 563 U.S. 493 519-20 (2011) (referencing a medical expert’s

description of the overcrowded California prison system as “‘breeding grounds for disease’”)

(citation omitted).

       On March 23, 2020, the CDC issued guidance for the operation of penal institutions to help

prevent the spread of COVID-19. Seth, 2020 WL 2571168, at *2. Notably, the BOP has

implemented substantial measures to protect prisoners from COVID-19, to mitigate the risks, and

to treat those who are infected. See ECF 36 at 10-12 (detailing preventive and mitigation measures

that the BOP has implemented to combat COVID-19). Indeed, as the Third Circuit recognized in

United States v. Raia, 954 F.3d 594, 597 (3rd Cir. 2020), the BOP has made “extensive and

professional efforts to curtail the virus’s spread.”

       The Department of Justice (“DOJ”) has recognized the unique risks posed to inmates and

BOP employees from COVID-19. The DOJ has adopted the position that an inmate who presents

with one of the risk factors identified by the CDC should be considered as having an “extraordinary

and compelling reason” warranting a sentence reduction. See U.S.S.G. § 1B1.13 cmt. n.1(A)(ii)(I).

       Moreover, Attorney General William Barr issued a memorandum to Michael Carvajal,

Director of the BOP, on March 26, 2020, instructing him to prioritize the use of home confinement

for inmates at risk of complications from COVID-19. Hallinan v. Scarantino, 20-HC-2088-FL,

2020 WL 3105094, at *8 (E.D. N.C. June 11, 2020). Then, on March 27, 2020, Congress passed

the Coronavirus Aid, Relief, and Economic Security Act (the “CARES Act”), Pub. L. No. 116-

136, 134 Stat. 281. In relevant part, the CARES Act authorized the Director of BOP to extend the

permissible length of home confinement, subject to a finding of an emergency by the Attorney


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           The Court may take judicial notice of matters of public record. See Fed. R. Evid. 201.

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General. See Pub. L. No. 116-136, § 12003(b)(2). On April 3, 2020, the Attorney General issued

another memorandum to Carvajal, finding “the requisite emergency . . . .” Hallinan, 2020 WL

3105094, at *9. Notably, the April 3 memorandum “had the effect of expanding the [BOP’s]

authority to grant home confinement to any inmate . . . .” Id.

       Nevertheless, as in the country as a whole, the virus persists in penal institutions.4 As of

July 7, 2020, the BOP reported that 2,163 inmates and 190 BOP staff tested positive for COVID-

19; 5,137 inmates and 603 staff have recovered; and 94 inmates and one staff member have died

from the virus. See https://www.bop.gov/coronavirus/ (last accessed July 7, 2020). With respect

to FCI Schuylkill, where Jenkins is a prisoner, there is currently one inmate with the illness, among

about 1,052 prisoners, and no staff members who are ill. Id. No inmates have died. Id.

                                             C. Analysis

       Jenkins does not provide any information in the Motion about any medical conditions that

might qualify him for compassionate release. ECF 30. He “avers that he meets several prongs

required in Attorney General Barr’s Memorandum, the First Step Act, the Cares Act, and the

BOP’s Program Statement . . . .” Id. at 1. According to Jenkins, it is “physically impossible to

social distance in prison.” Id.

       The government counters that this “conclusory and barebones assertion does not entitle

[Jenkins] to relief.” ECF 36 at 1. Therefore, the government argues that Jenkins is not eligible for

compassionate release. Id. at 12.




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          The New York Times has reported that cases of COVID-19 “have soared in recent weeks”
at jails and prisons across the country. Timothy Williams et al., Coronavirus cases Rise Sharply
in Prisons Even as They Plateau Nationwide,” N.Y. TIMES (June 18, 2020),
https://nyti.ms/37JZgH2.

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       Jenkins is almost 27 years old. He has not alleged “that he has a terminal illness, has a

serious physical or mental condition, or is suffering from any of the factors identified by the CDC

that poses and increased risk of severe illness from COVID-19.” ECF 36 at 13. The government

observes that, according to the Amended PSR, Jenkins “suffers from chronic pain as a result of a

2016 stabbing,” but he is otherwise in good physical health. Id. And, Jenkins has not provided

any other information about “extraordinary and compelling circumstances” that might justify

compassionate release. Id.

       I agree with the government. Jenkins has not provided the Court with information that

shows he is eligible for compassionate release. As the movant, the burden is his. “The existence

of the present pandemic, without more, is not tantamount to a ‘get out of jail free’ card.” United

States v. Williams, PWG-13-544, 2020 WL 1434130, at *3 (D. Md. Mar. 24, 2020). COVID-19,

standing alone, does not amount to eligibility for compassionate release. And, even assuming

eligibility, the factors under 18 U.S.C. § 3553(a) do not support his release.

                                            III.        Conclusion

       For the reasons stated above, I shall deny the Motion (ECF 30), without prejudice. An

Order follows.



Date: July 9, 2020                                                      /s/
                                                         Ellen Lipton Hollander
                                                         United States District Judge




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